Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.757 Page 1 of 40




 DAVID O. DRAKE, ESQ. (USB# 0911)
 6905 South 1300 East #248, Midvale, UT 84047
 (801) 601-9049

 JEFFREY A. BRONSTER, ESQ. (JB/2620)
 17 Wendell Place, Fairview, New Jersey 07022
 (201) 945-2566
 ______________________________________________________________________________

                       IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF UTAH
 ______________________________________________________________________________
                                     |
 UNITED STATES OF AMERICA            | Case No. 2:23-cr-00010-HCN
                                     |
       vs.                           | DEFENDANT MOORE’S MOTION TO
                                     | DISMISS THE INDICTMENT
 PLASTIC SURGERY INSTITUTE OF        |
 UTAH INC., et al.,                  | Judge Howard C. Nielson Jr.
                                     |
                    Defendants.      | ORAL ARGUMENT REQUESTED
 ____________________________________|_________________________________________


       Count One must be dismissed because the CDC lacked the authority to
       promulgate the requirements that defendant Moore is charged with
       violating

       Count One must be dismissed because the documents necessary to
       obtain a conviction fail to comply with the federal Paperwork Reduction
       Act, and must therefore be suppressed.

       Counts Two and Three must be dismissed because the property that the
       defendant is accused of converting did not belong to the federal
       government at that time

       The Government should be barred from presenting its theory as to the
       value of the vaccine reporting cards, which does not comply with any of
       the statutory criteria for the calculation of loss.
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.758 Page 2 of 40




                                               TABLE OF CONTENTS
                                                                                                                 Page

 PRELIMINARY STATEMENT................................................................................             1


 LEGAL ARGUMENT...............................................................................................     3

          POINT I

          THE CDC LACKED AUTHORITY TO PROMULGATE
          THE REQUIREMENTS THAT DEFENDANT MICHAEL
          MOORE IS CHARGED WITH VIOLATING, AND
          COUNT ONE MUST THEREFORE BE DISMISSED.................................                                   3

                    A. The Role of the CDC in this Prosecution......................................               3

                    B. The Eviction Moratorium..............................................................       5

                    C. The Raimondo Decision and Administrative Law........................                        7

                              1. The Passing of the APA....................................................        7

                              2. The Chevron Decision........................................................      8

                              3. The Effect of Raimondo.....................................................      11

                    D. The CDC's Lack of Authority........................................................        12


          POINT II

          THE GOVERNMENT'S FAILURE TO COMPLY WITH
          THE PAPERWORK REDUCTION ACT REQUIRES
          SUPPRESSION OF THE EVIDENCE NEEDED TO PROVE
          COUNT ONE, WHICH ACCORDINGLY MUST BE DISMISSED............                                              15


          POINT III

          COUNTS TWO AND THREE OF THE INDICTMENT MUST BE
          DISMISSED BECAUSE OF THE GOVERNMENT'S INABILITY
          TO PROVE AN ESSENTIAL ELEMENT OF THE OFFENSE ..................                                         23
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.759 Page 3 of 40




                                                                                                                        Page

           POINT IV

           THE CDC'S COMPUTATION OF LOSS SHOULD BE
           STRICKEN FROM THE INDICTMENT, AND THE
           PROSECUTION SHOULD BE BARRED FROM
           PRESENTING ANY ARGUMENT IN SUPPORT OF IT
           AT OR AFTER TRIAL..................................................................................           30


 CONCLUSION..........................................................................................................    34
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.760 Page 4 of 40




                                               TABLE OF AUTHORITIES

                                                                                                                         Page

 Ala. Ass'n of Realtors v. HHS,
  594 U.S. 758, 141 S.Ct. 2485, 210 L.Ed.2d (2024) ................................................                      5, 6


 Borman v. United States,
  262 F. 26 (2d Cir. 1919)...........................................................................................      26


 Chevron U.S.A. Inc. v Natural Resources Defense Council Inc.,
  467 U.S. 837, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)............................................                        7-11


 Loper Bright Enters. v. Raimondo,
  - - U.S. - -, 2024 U.S. LEXIS 2882 (2024)...............................................................              7, 10-11


 Perez v. Mrtg. Bankers Ass'n,
  575 U.S. 92 135 S.Ct. 119, 191 L. Ed. 2d 186 (2015).............................................                         11


 United States v. Anderson,
  45 F. Supp. 943 (D. Cal. 1942)................................................................................           26


 United States v. Chisum,
  502 F.3d 1237 (10th Cir. 2007), cert. denied,
  552 U.S. 1211 (2008)...............................................................................................      18


 United States v. Gross,
  626 F.3d 289 (6th Cir. 2010)....................................................................................         18


 United States v. Hatch,
  919 F.2d 1394 (9th Cir. 1990)..................................................................................          18


 United States v. Hartec Enterprises, Inc.,
  967 F.2d 130 (5th Cir. 1992)....................................................................................        26-28
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.761 Page 5 of 40




                                                                                                                        Page

 United States Morton Salt Co.,
  338 U.S. 632, 70 S.Ct. 357, 94 L.Ed. 401 (1950) ...................................................                     8


 United States v. Robie,
  166 F.3d 444 (2nd Cir. 1999)...................................................................................       28, 29


 United States v. Sasser,
  974 F.2d 1544 (10th Cir. 1992), cert. denied,
  506 U.S. 1085 (1993)...............................................................................................   18-19


 United States v. Smith,
  866 F.2d 1092 (9th Cir. 1989)..................................................................................        18
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.762 Page 6 of 40




                         PRELIMINARY STATEMENT

       This prosecution is the first of its kind in the United States. The Government

 makes a valiant effort to manipulate traditional theories of fraud and criminality to

 fit some of the complex issues arising out of the Covid-19 pandemic. It is therefore

 not surprising that case raises issues of first impression. This is not a traditional

 indictment alleging the defrauding of the government for the purpose of profit; it is

 more an allegation of “fraud” through the frustration of the CDC’s intent in putting

 a vaccination plan into action. While such a theory is not unprecedented, its use is

 understandably rare.

       In Point I, the defendant will argue that Count One of the Indictment must be

 dismissed because of the illegality of the CDC plan that Dr. Moore is charged with

 violating. He maintains, supported by decisions of the United States Supreme Court,

 that the CDC far exceeded its authority, and that the conspiracy to defraud claim

 asserted in Count One therefore cannot be sustained.

       In Point II, the defendant will argue that the CDC engaged in violations of the

 Paperwork Reduction Act, and that such violations require the suppression of

 documentary and testimonial evidence without which the Government cannot hope

 to even establish a prima facie case under Count One.




                                          -1-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.763 Page 7 of 40




       Counts Two and three relate to theft of government property, with one count

 being a substantive charge and the other being a conspiracy charge. In Point III the

 defendant will argue that the property in question - - the Covid vaccine and the

 vaccination record cards obtained by Dr. Moore - - were, at the relevant times, the

 property of the State of Utah rather than the federal government, and that the counts

 must accordingly be dismissed.

       In Point IV the defendant will demonstrate that even if theft of property counts

 are permitted to go forward, the valuation in the Indictment is fatally flawed, and

 simply cannot be sustained under any reasonable interpretation of the evidence, even

 when viewed in the light most favorable to the Government. The defendant therefore

 is seeking to strike that valuation from the Indictment, and to prohibit the

 Government from arguing it either at trial or at any hypothetical future sentencing.




                                          -2-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.764 Page 8 of 40




                                             POINT I

                THE CDC LACKED THE AUTHORITY TO
                PROMULGATE THE REQUIREMENTS THAT
                DEFENDANT MICHAEL MOORE IS CHARGED
                WITH VIOLATING, AND COUNT ONE MUST
                THEREFORE BE DISMISSED

        The primary governmental role in regulating public health matters lies with the

 states, acting within their general police powers.1 While the federal government does

 have a role, it is a specific rather than a general one, and is limited to those powers

 granted in the Constitution. The criminal charges brought by the federal government

 against Dr. Moore are based on actions by the Department of Health & Human

 Services (“HHS”) and the Centers for Disease Control (“CDC”) that exceed that

 constitutional authority, and hence the charges cannot stand.

    A. The Role of the CDC in this Prosecution

        According to the Indictment, the CDC and HHS “developed rules and

 protocols” for the administration of the Covid vaccine (“the Vaccine”).2 But the

 Indictment lacks the specificity to determine what those rules and protocols were,


        1
          See Elizabeth Y. McCuskey, Body of Presumption: Health Law Traditions and the
 Presumption Against Preemption, 89 TEMPLE LAW REV. 95, 113-20 (2016).
        2
          Whether or not the Covid vaccine even meets the definition of a vaccine was called into
 question by a Ninth Circuit decision. Health Freedom Def. Fund, Inc. v. Carvalho, - - F.4th - -, 2024
 U.S. App. LEXIS 13910 (9th Cir. 2024). However, that issue is beyond the scope of this brief, and
 Defendant will concede that it is a vaccine only for the limited purpose of this particular motion.

                                                 -3-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.765 Page 9 of 40




 although they constitute an element of the necessary proofs. What the Indictment

 implies is that the CDC came up with a plan that it then imposed on states and

 medical providers. But the source of its authority to do so is never explained.

       It bears noting at the outset that the CDC is not a regulatory agency, but rather

 an advisory one. It does purportedly have certain regulatory powers (infra). But even

 the United States government, in a publication made available by the National

 Institute of Health, acknowledges the limitations of CDC authority under the

 currently- existing scheme:

              The Centers for Disease Control and Prevention (CDC) exercised
              broad regulatory authority throughout the COVID-19 pandemic, with
              many of its actions challenged in, or even blocked by, the courts. The
              committee believes that the CDC should be afforded ample legal
              authority to carry out its mission using evidence-based measures to
              reduce the interstate or international spread of infectious diseases.
              This would require legal reforms, including modernizing the Public
              Health Service Act of 1944 (PHSA), which was enacted well before
              major societal changes—including globalization—that can amplify
              the threat of rapidly moving infectious diseases.

 See Improving the CDC Quarantine Station Network's Response to Emerging

 Threats, Ch. 6, National Academies of Sciences, Engineering, and Medicine, et als.

 (2022).

       HHS has sometimes cited as a source of statutory authority the following

 section of 42 USC § 264:




                                               -4-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.766 Page 10 of 40




               (a) Promulgation and enforcement by Surgeon General. The Surgeon
               General, with the approval of the Administrator [Secretary], is
               authorized to make and enforce such regulations as in his judgment
               are necessary to prevent the introduction, transmission, or spread of
               communicable diseases from foreign countries into the States or
               possessions, or from one State or possession into any other State or
               possession. For purposes of carrying out and enforcing such
               regulations, the Surgeon General may provide for such inspection,
               fumigation, disinfection, sanitation, pest extermination, destruction
               of animals or articles found to be so infected or contaminated as to be
               sources of dangerous infection to human beings, and other measures,
               as in his judgment may be necessary.

  Although the statutory authorization is given to the Surgeon General, he has

  delegated that authority to the CDC pursuant to C.F.R. § 70.2. The phrase “such

  regulations as in his judgment are necessary” would seem to suggest broad, almost

  unlimited discretion; but that is not the case.

     B. The Eviction Moratorium

        In Ala. Ass’n of Realtors v. HHS, 594 U.S. 758, 141 S.Ct. 2485, 210 L.Ed.2d

  (2024), the Supreme Court considered a nationwide moratorium on the eviction of

  certain tenants in counties with high levels of Covid-19. Although HHS defended the

  moratorium on the basis of its authority under 42 USC § 264, the Supreme Court

  disagreed, noting: “It strains credulity to believe that this statute grants the CDC the

  sweeping authority it asserts.” 594 U.S. at 760. The Court did not dispute that

  Congress could have authorized such an action by the CDC, but such approval “has

  not happened.” Id. at 759-60. Despite the fact that Covid had been declared a


                                                -5-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.767 Page 11 of 40




  national emergency, the CDC still lacked the authority to exercise power that had not

  been granted to it by Congress.

        Because of its implications to the HHS/CDC actions at the heart of the criminal

  charges against Dr. Moore, the details of the Supreme Court’s holding in Ala. Ass’n

  of Realtors merits quotation here at significant length. The following paragraphs go

  to the very heart of the matter:

               The applicants not only have a substantial likelihood of success on
               the merits—it is difficult to imagine them losing. The Government
               contends that the first sentence of §361(a) gives the CDC broad
               authority to take whatever measures it deems necessary to control the
               spread of COVID-19, including issuing the moratorium. But the
               second sentence informs the grant of authority by illustrating the
               kinds of measures that could be necessary: inspection, fumigation,
               disinfection, sanitation, pest extermination, and destruction of
               contaminated animals and articles.

  Id. at 763. The Court went on to state:

               Even if the text were ambiguous, the sheer scope of the CDC’s
               claimed authority under §361(a) would counsel against the
               Government’s interpretation. We expect Congress to speak clearly
               when authorizing an agency to exercise powers of vast economic and
               political significance . . . . That is exactly the kind of power that the
               CDC claims here . . . .

               Indeed, the Government’s read of §361(a) would give the CDC a
               breathtaking amount of authority. It is hard to see what measures this
               interpretation would place outside the CDC’s reach, and the
               Government has identified no limit in §361(a) beyond the
               requirement that the CDC deem a measure “necessary” . . . . This
               claim of expansive authority under §361(a) is unprecedented . . . .

  Id. at 763-65 [emphasis added, internal quotation marks and citations omitted].



                                                 -6-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.768 Page 12 of 40




         The court’s rejection of the CDC interpretation, even if the statute was deemed

  to be ambiguous, was a sign of what was to come. The limitations on the CDC’s

  authority are now even clearer after the recent decision in Loper Bright Enters. v.

  Raimondo, - - U.S. - -, 2024 U.S. LEXIS 2882 (2024).

     C. The Raimondo Decision and Administrative Law

         In 1984, the Supreme Court dramatically changed the regulatory landscape of

  the country. Although it is unlikely that the justices who decided Chevron U.S.A. Inc.

  v Natural Resources Defense Council Inc. meant to usher in the dramatic overhaul in

  administrative jurisprudence that followed, the decision began a juridical revolution

  that saw the court system become subservient to agencies of the executive branch.3

  It is unlikely that any agency has taken greater advantage of this realignment of

  traditional constitutional power than the CDC. Now, forty years later, the Supreme

  Court has been forced to deal with Chevron’s unintended consequences, in a decision

  that reclaims for the judicial branch the role that the Founders intended for it.

         1. The Passing of the APA

         The abuse of administrative power is not a new threat. Almost 80 years ago

  Congress passed The Administrative Procedure Act (“the APA”) with a single



         3
          Chevron U.S.A. Inc. v Natural Resources Defense Council Inc., 467 U.S. 837, 104 S.Ct.
  2778, 81 L.Ed.2d 694 (1984).

                                              -7-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.769 Page 13 of 40




  overriding purpose: to act as “a check upon administrators whose zeal might

  otherwise have carried them to excesses not contemplated in legislation creating their

  offices.” United States v. Morton Salt Co., 338 U.S. 632, 644, 70 S.Ct. 357, 94 L.Ed.

  401 (1950). The gravity of the threat presented is reflected in the fact that Congress

  actually found it necessary to codify a basic legal concept: that a court reviewing an

  administrative decision “shall decide all relevant questions of law, interpret

  constitutional and statutory provisions, and determine the meaning and or

  applicability of the terms of an agency action.” 5 U.S.C. § 706. In other words, legal

  decisions are made by judges, not by bureaucrats.

        For 36 years, courts implemented the APA by doing what they had always

  done: serving as the ultimate interpreter of legislative intent determining the

  boundaries of congressional delegations of authority. While a court could certainly

  consider the judgment of a regulatory agency, it had no obligation to defer to that

  judgment. As had always been the case, the intent of the APA was that courts were

  to continue relying on their own judgment, a function that had always been the very

  essence of the American judicial system.

        2. The Chevron Decision

        In 1984, the Supreme Court was called upon to rule on a somewhat obscure

  question of law: the interpretation of the term “stationary source” as used in the Clean

                                            -8-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.770 Page 14 of 40




  Air Act. At issue was an EPA regulation treating “all pollution-emitting devices

  within the same industrial grouping” as though they were part of a single “bubble.”

  See, Chevron, supra, 467 U.S. at 840. In deciding in favor of the EPA, the court took

  a step off of the well-worn path of interpreting legislative intent.

         The court started with the fundamental concept that if Congress addresses an

  issue directly, such that its intent is clear from the legislation itself, an administrative

  regulation or interpretation that deviated from that intent was void. That much of the

  court’s ruling was compelled by the Constitution itself, and was a necessary safeguard

  to the constitutional authority granted to the legislative branch.

         The court then turned to the question of what would happen when legislation

  was either ambiguous or simply silent on a matter under regulatory consideration. In

  the normal course the appropriate agency would regulate based upon its interpretation

  of the legislative intent. But what impact did that interpretation have if a regulation

  was subsequently challenged through a lawsuit? Under the APA, which had codified

  a legal concept that had stood for more than a century, the deciding court was not

  required to give any deference to the agency’s interpretation of congressional intent.

  By constitutional fiat, the law was to be decided by judges, not regulators. And yet,

  with no attempt whatsoever to reconcile its decision with the APA, the Chevron court

  abandoned all precedent.

                                              -9-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.771 Page 15 of 40




         The Supreme Court went on to hold that if the regulatory agency’s

  interpretation of the law was “a permissible construction of the statute” - - not the

  only possible construction, not even the most reasonable construction, but simply one

  of however many “permissible” constructions there might be - - the courts had to

  defer to the agency. Chevron, supra, fn. 11. There was nothing new in a court giving

  consideration to an agency’s interpretation, or even going so far as to give it

  “considerable weight.” But Chevron announced a new rule of law, one found

  nowhere in the APA, and in fact wholly inconsistent with the APA: that in filling the

  statutory “gaps” that were created when Congress did not address a specific issue, the

  courts were required to defer to the agency, even if the Court disagreed with the

  agency’s interpretation.

         Some legal scholars believe that the Chevron court neither foresaw nor

  intended the sea change in regulatory jurisprudence that resulted from the decision.4

  As more and more cases came before the courts, the concept became more deeply

  imbedded that in the case of ambiguity or even mere silence on a particular issue in

  legislation, the interpretation of the regulatory agency was entitled to deference.

  Courts were no longer to decide what was correct, only what was “reasonable.”



         4
          See Raimondo, supra at *41, citing T. Merrill, The Story of Chevron: The Making of An
  Accidental Landmark, 66 ADMIN. L. REV. 253 (2014).

                                              -10-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.772 Page 16 of 40




        3. The Effect of Raimondo

        Almost a decade ago, some members of the Court were already sharply

  criticizing the Chevron test, noting its patent inconsistency with the APA. See Perez

  v. Mrtg. Bankers Ass’n, 575 U.S. 92, 109, 135 S.Ct. 119, 191 L. Ed. 2d 186 (2015)

  (Scalia, J., concurring in judgment). Finally, in June of this year, the court officially

  announced what had already become apparent: that “ambiguity [in a statute] is simply

  not a delegation of law-interpreting power.” Raimondo, supra at *43. The court went

  on to expressly overrule Chevron, restoring the very concept that the APA was

  intended to codify in the first place: that courts interpreting congressional intent

  should rely on their own interpretation of that intent, even if it conflicts with that of

  a regulatory agency.

        The Chevron doctrine has not merely been wounded; it is dead and buried. In

  deciding on the issue of legislative ambiguity, the Supreme Court could not have been

  any less ambiguous:

               Chevron has proven to be fundamentally misguided . . . . For its entire
               existence, Chevron has been a rule in search of a justification . . . if
               it was ever coherent enough to be called a rule at all.

  Raimondo, supra at *54-55 [citations and internal quotation marks omitted]. With

  its hands untied by the overruling of Chevron and the reinstatement of the original

  intention of the APA, the Court must now turn its attention to how this rule of law


                                                -11-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.773 Page 17 of 40




  impacts the case before it. The Court will now be asked to invalidate the CDC

  regulations at the heart of this prosecution - - regulations that perverted congressional

  intent and undermined constitutional principals - - and to accordingly dismiss the

  charges against Dr. Moore.

     D. The CDC’s Lack of Authority

        Returning to the Indictment in this case, Count One alleges a conspiracy by the

  defendants to impede, impair, obstruct, and defeat “the lawful government functions

  of the CDC in administering authorized COVID-19 vaccines and COVID-19

  Vaccination Record Cards through approved vaccine distributing entities.” By virtue

  of this wording, the Government itself has acknowledged that for the defendant to be

  guilty, the CDC requirements must be “lawful.” Indeed, it would be difficult to

  imagine how the Government could ever argue otherwise.

        As discussed earlier in this brief, under our constitutional system law-making

  is the province of the Legislative Branch, and agencies of the Executive Branch have

  only such authority in that area as is statutorily granted to them by Congress. And, as

  recent Supreme Court decisions have reflected, such grants of authority are to be

  narrowly interpreted; the mere existence of a statutory ambiguity or legislative silence

  on a specific issue does not operate to give the Executive Branch broad power to

  regulate matters that fall within the gaps.

                                            -12-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.774 Page 18 of 40




        The CDC plan that is the subject of the Indictment is a massive abuse of the

  limited regulatory power of that agency, even with the powers delegated to it by the

  Surgeon General. Indeed, both the Surgeon General and HHS itself lack the statutory

  authority to promulgate such a plan. A discussion of all of the various ways that the

  CDC exceed its authority is beyond the scope of this discussion; the defendant will

  focus on those that most directly demonstrate why Count One must be dismissed.

        Preliminarily, it should be noted that even the Indictment does not allege that

  a single person was deprived of being vaccinated because of Dr. Moore. Taking all

  of the Government’s allegations as true for the limited purpose of this discussion, it

  has not alleged that there was ever a shortage of vaccine for people who wanted it

  because of Dr. Moore. Nor did Dr. Moore through his actions deprive even a single

  one of his patients of the ability to be vaccinated. As the Government’s own evidence

  corroborates, none of the people who received vaccination cards from Dr. Moore ever

  wanted to be vaccinated. What the defendant did was at their request, and was

  consistent with their own wishes.

        The only real issue, then, is Dr. Moore’s purported submission to a state agency

  of vaccine information relating to his patients that was not truthful. It is particularly

  in regard to this requirement that the CDC most notably exceeded any authority

  granted to it by Congress.

                                            -13-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.775 Page 19 of 40




        The information-reporting to the state served no necessary purpose. What it in

  fact did is create a de facto “database” of people who could be discriminated against,

  i.e., all those as to whom vaccinations had not been reported. The Court can take

  judicial notice that different agencies in different states through different means put

  social, educational, and employment restrictions on those who were not vaccinated.

  The CDC requirement of reporting vaccinations to the state was an easy, albeit

  unconstitutional method of identifying those who for religious, ethical, medical, or

  other reasons relating to personal choice and personal liberty chose not to be

  vaccinated. Nowhere in any piece of legislation ever passed by the Congress of the

  United States has HHS or the CDC been granted such rule-making power.

        In summary, the CDC did not have the statutory power to require Dr. Moore

  to vaccinate his patients, or to require him to assist in the creation of a state database

  of those who chose to remain unvaccinated. What the Government’s motives were in

  creating the vaccination plan are a subject of debate even today. Some believe that

  it was a good faith effort to deal with a health crisis; others believe that the

  Government had other motives in promoting the wide-scale use of a potentially

  dangerous vaccine that had escaped the usual rigorous testing process because of

  public fear. But this motion is not about motives, it is about law. And under the law,

  the CDC lacked the necessary authority, and Count One must be dismissed.

                                            -14-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.776 Page 20 of 40




                                              POINT II

                 THE GOVERNMENT’S FAILURE TO COMPLY
                 WITH THE PAPERWORK REDUCTION ACT
                 REQUIRES SUPPRESSION OF THE EVIDENCE
                 NEEDED TO PROVE COUNT ONE, WHICH
                 ACCORDINGLY MUST BE DISMISSED

         In 1980 Congress passed the Paperwork Reduction Act (“PRA”), which was

  later amended in 1995. The PRA requires that an information-collection form be

  subjected to a regulatory approval process before it can be used to gather information

  from the public. A failure to abide by the PRA carries consequences. In the present

  case those consequences should be the suppression of the use, or even the reference

  to documentary evidence that violated the PRA.

         44 U.S.C. § 3507(a) sets out a fairly rigorous process that must be abided by for a form to

  receive approval for distribution:

                 (a) An agency shall not conduct or sponsor the collection of information
                 unless in advance of the adoption or revision of the collection of
                 information—

                 (1)     the agency has—

                         (A)     conducted the review established under section 3506(c)(1)
                                 [44 USCS § 3506(c)(1)];

                         (B)     evaluated the public comments received under section
                                 3506(c)(2) [44 USCS § 3506(c)(2)];

                         (C)     submitted to the Director the certification required under
                                 section 3506(c)(3) [44 USCS § 3506(c)(3)], the proposed
                                 collection of information, copies of pertinent statutory
                                 authority, regulations, and other related materials as the
                                 Director may specify; and


                                                   -15-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.777 Page 21 of 40



                     (D)     published a notice in the Federal Register—

                             (i)        stating that the agency has made such
                                      submission; and

                             (ii)     setting forth—

                                      (I)      a title for the collection of information;

                                      (II)    a summary        of   the    collection of
                                              information;

                                      (III)    a brief description of the need for the
                                              information and the proposed use of the
                                              information;

                                      (IV)     a description of the likely respondents
                                              and proposed frequency of response to
                                              the collection of information;

                                      (V)     an estimate of the burden that shall result
                                              from the collection of information; and

                                      (VI)    notice that comments may be submitted to
                                              the agency and Director;


               (2)   the Director has approved the proposed collection of information
                     or approval has been inferred, under the provisions of this section;
                     and

               (3)   the agency has obtained from the Director a control number to be
                     displayed upon the collection of information.

  The statute goes on to contain extensive provisions for public notice and the ultimate

  approval of a form.

        Under 44 U.S.C. § 3502, there can be no doubt that both HHS and the CDC are

  subject to the PRA:




                                                -16-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.778 Page 22 of 40




               (1) the term "agency" means any executive department, military
               department, Government corporation, Government controlled
               corporation, or other establishment in the executive branch of the
               Government (including the Executive Office of the President), or any
               independent regulatory agency,

        Nor can there be any doubt as to the broad range of forms that are covered by

  the statute, some of which apply to this case (infra):

               (3) the term “collection of information”—

               (A)    means the obtaining, causing to be obtained, soliciting, or
                      requiring the disclosure to third parties or the public, of facts
                      or opinions by or for an agency, regardless of form or format,
                      calling for either—

                        (i)    answers to identical questions posed to, or identical
                               reporting or record-keeping requirements imposed on,
                               ten or more persons, other than agencies,
                               instrumentalities, or employees of the United States;
                               or

                        (ii)   answers to questions posed to agencies, instrumenta-
                               lities, or employees of the United States which are to
                               be used for general statistical purposes . . . .

        Congress was so intent that executive agencies comply with the requirements

  of the PRA that it built into the statute a provision for the protection of the public,

  embodied in 44 U.S.C. § 3512:

               (a) Notwithstanding any other provision of law, no person shall be
               subject to any penalty for failing to comply with a collection of
               information that is subject to this subchapter if—

               (1) the collection of information does not display a valid control
               number assigned by the Director in accordance with this subchapter;
               or



                                               -17-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.779 Page 23 of 40




                 (2) the agency fails to inform the person who is to respond to the
                 collection of information that such person is not required to respond
                 to the collection of information unless it displays a valid control
                 number.

                 (b) The protection provided by this section may be raised in the form
                 of a complete defense, bar, or otherwise at any time during the agency
                 administrative process or judicial action applicable thereto.

         The “public protection” provision has rarely been raised in the context of a

  criminal prosecution, but such use is not without precedent, and courts have at times

  gone so far as to dismiss such prosecutions. See United States v. Smith, 866 F.2d

  1092 (9th Cir. 1989); United States v. Hatch, 919 F.2d 1394 (9th Cir. 1990). A

  marked exception, however, has been made for federal tax prosecutions, with multiple

  courts, including the Tenth Circuit, finding that there is an independent statutory basis

  for tax prosecutions that renders the PRA inapplicable. See e.g. United States v.

  Chisum, 502 F.3d 1237 (10th Cir. 2007), cert. denied, 552 U.S. 1211 (2008); United

  States v. Gross, 626 F.3d 289 (6th Cir. 2010).5

         There is one other relevant Tenth Circuit case which at first reading appears

  to defeat Dr. Moore’s PRA argument. United States v. Sasser, 974 F.2d 1544 (10th

  Cir. 1992), cert. denied, 506 U.S. 1085 (1993). But the timing of that decision is


         5
           The Tenth Circuit also denied a taxpayer’s appeal in Springer v. Comm'r, 580 F.3d 1142
  (10th Cir. 2009), cert. denied, 559 U.S. 1017 (2010). However, the specific grounds for the denial
  were that the taxpayer had waived the defense as to taxes assessed by not raising it in the tax court,
  and that penalties assessed did not arise out of the challenged documents, and hence the PRA was
  not applicable to them.

                                                  -18-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.780 Page 24 of 40




  crucial. The case was decided under the PRA as it was first passed by Congress in

  1980. At that time, Paragraph (b) of the statute did not exist.6 It was not until 1995

  that Congress strengthened the statute by adding: “(b) The protection provided by this

  section may be raised in the form of a complete defense, bar, or otherwise at any time

  during the agency administrative process or judicial action applicable thereto.”

         The imposition of the rules attendant to the CDC vaccination scheme in

  general, the Government’s investigation of Dr. Moore in particular, and the decision

  to prosecute and indict him were all part of the administrative process of agencies of

  the Executive Branch. This criminal action is a “judicial action relating thereto”, and

  accordingly Dr. Moore is entitled to raise the Government’s breaches of the PRA as

  “a complete defense, bar, or otherwise.” Paragraph (b), which memorializes his right,

  did not exist when Sasser was decided, and in effect supercedes it.

         ¶ 17 of the Indictment alleges that providers were required to sign a CDC

  Covid-19 Vaccination Program Provider Agreement.7 The Government alleges that

  Dr. Moore did so, and this document is critical to the Government’s fraud theory in

  Count One. Importantly it is, by its very nature, an information-collection document.


         6
          Solely for the purpose of preserving the issue for appeal, Defendant also maintains that
  Sasser was incorrectly decided, and should be reconsidered by the Tenth Circuit.
         7
           Dr. Moore denies submitting anything to the CDC. To the best of his knowledge his dealing
  with the vaccine were entirely between him and the State of Utah.

                                                -19-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.781 Page 25 of 40




        To the best of Dr. Moore’s knowledge and belief, he never signed a Provider

  Agreement that displayed a valid control number assigned under the PRA, or that

  informed him that he was not required to respond to the form unless it displays such

  a control number. This is an outright violation of 44 U.S.C. § 3512, and Dr. Moore

  is entitled to the protection of having any evidence, documentary or testimonial, as

  to the Provider Agreement suppressed.

        The Indictment, in that same paragraph, states that Dr. Moore was required

  “provide a completed COVID-19 vaccination record” to each vaccine recipient. That

  requirement would require from him “the disclosure to third parties or the public” of

  information. Furthermore, the vaccine card required “answers to identical questions

  posed to, or identical reporting or record-keeping requirements imposed on, ten or

  more persons.” Thus, the vaccine cards were, by statutory definition, information-

  collection forms.

        Here again, to the best of Dr. Moore’s knowledge and belief, he never authored

  a Vaccine Card Provider Agreement that displayed a valid control number assigned

  under the PRA, or that informed him that he was not required to respond to the form

  unless it displays such a control number. Furthermore, his research has failed to turn

  up any sample of the vaccine card form that contains that information. This is another

  violation of 44 U.S.C. § 3512.

                                          -20-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.782 Page 26 of 40




        Finally, Dr. Moore is not aware of any forms used for reporting patient

  vaccinations to the State of Utah that contained a PRA control number. The CDC

  claims that the requirement of providing such information to the State was part of its

  requirements as part of its master plan; thus, a PRA control number should have been

  required on any applicable forms, yet another violation.

        As a result of the various violations, virtually all of the significant documentary

  and testimonial evidence that the Government seeks to rely upon must be suppressed.

  Without it, the Government cannot possibly hope to even establish a prima facie case

  of fraud.

        Parenthetically, it bears noting that Paragraph 10 of the Indictment states that

  the CDC’s intent - - the “frustration” of which is the very basis of Count One, being

  the supposed object of Dr. Moore’s conduct - - “was to make a COVID-19 vaccine

  available to all authorized adults in the United States who wanted to receive a

  vaccine.” With or without the documentary evidence referred to above, the

  Government has no evidence of the frustration of that intent. The Indictment does

  not allege that Dr. Moore’s actions created a shortage of the vaccine or frustrated its

  receipt by any adult who wanted it. As to Dr. Moore’s own patients, by their very

  actions they were expressing that they did not want to receive the vaccine.




                                           -21-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.783 Page 27 of 40




         Paragraph 20, somewhat contradicting Paragraph 10, states that Dr. Moore

  committed fraud by attempting to defeat the CDC functions of “distributing and

  administering authorized COVID-19 vaccines and COVID-19 Vaccination Record

  Cards” through approved distributors.8 But the Government’s proofs, even taken in

  their best light, fail to prove both.

         As noted, the Indictment does not claim that distribution and administration of

  the vaccine to anyone who wanted it was impeded by anything, much less by anything

  that Dr. Moore did. Furthermore, nothing that Dr. Moore did interfered with the CDC

  goal of distributing Vaccination Record Cards. Every patient who was vaccinated by

  anyone presumably received a card. What Dr. Moore allegedly did may have

  increased the universe of who received such cards, but it did nothing to interfere with

  the distribution of vaccine cards to those people who did receive the vaccine.

         All of the foregoing demonstrates that even with the benefit of all of its

  evidence, the Government cannot hope to prove the allegations of Count One. It is

  therefore self-evident that without that evidence, which must be suppressed because

  of the CDC violations of the PRA, there is no excuse for the Government to burden

  Dr. Moore any further with this accusation, and Count One must be dismissed.



         8
           While both “distributing and administering” apply to the vaccine itself, the second part of
  the sentence only alleges frustration of the distribution of Vaccination Record Cards.

                                                 -22-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.784 Page 28 of 40




                                           POINT III

               COUNTS TWO AND THREE OF THE INDICTMENT
               MUST BE DISMISSED BECAUSE OF THE
               GOVERNMENT’S INABILITY TO PROVE AN
               ESSENTIAL ELEMENT OF THE OFFENSE

        Counts Two and Three of the Indictment are similar in nature, the distinction

  being that one charges a substantive offense, while the other charges a conspiracy to

  commit that offense. 18 U.S.C. § 641 states as follows:

               Whoever embezzles, steals, purloins, or knowingly converts to his
               use or the use of another, or without authority, sells, conveys or
               disposes of any record, voucher, money, or thing of value of the
               United States or of any department or agency thereof, or any property
               made or being made under contract for the United States or any
               department or agency thereof; or

               Whoever receives, conceals, or retains the same with intent to convert
               it to his use or gain, knowing it to have been embezzled, stolen,
               purloined or converted—

               Shall be fined under this title or imprisoned not more than ten years,
               or both; but if the value of such property in the aggregate, combining
               amounts from all the counts for which the defendant is convicted in
               a single case, does not exceed the sum of $1,000, he shall be fined
               under this title or imprisoned not more than one year, or both.

               The word “value” means face, par, or market value, or cost price,
               either wholesale or retail, whichever is greater.

        The 2021 Edition of the Tenth Circuit’s Criminal Patter Jury Instructions,

  defining the offense set out in § 641, states as follows:

               2.31 The defendant is charged in count ______ with a violation of 18
               U.S.C. section 641. This law makes it a crime to [steal] [embezzle]
               [convert] government property.


                                               -23-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.785 Page 29 of 40




                The defendant is accused of [stealing] [embezzling] [converting]
                [name property]. To find the defendant guilty of this crime you must
                be convinced that the government has proved each of the following
                beyond a reasonable doubt:

                First: the [name property] belonged to the United States government
                [if lack of knowledge is asserted, add: It does not matter whether the
                defendant knew that the [name property] belonged to the United
                States government, only that he knew it did not belong to him.];

                Second: the defendant [stole] [embezzled] [converted] the [name
                property] intending to put it [to his own use or gain] [to the use or
                gain of another] or the defendant took the [name property] knowing
                it was not his and intending to deprive the owner of the use or benefit
                of the [name property]; and

                Third: the value of the [name property] was more than $1,000.

                "Value" means the face, or market value, or cost price, either
                wholesale or retail, whichever is greater.

        The substantive count of the Indictment describes the conduct that Dr. Moore

  and other defendants supposedly engaged in and/or conspired to engage in, alleging

  as follows:

                . . . defendants herein, did embezzle, steal, purloin, and knowingly
                convert to their use or the use of another, and without authority, sold,
                conveyed, and disposed of a thing of value of the United States or of
                a department or agency thereof and of property made or being made
                under contract for the United States and a department or agency
                thereof, that is, the Centers for Disease Control and Prevention,
                namely approximately 1937 doses of COVID-19 vaccines and
                corresponding COVID-19 Vaccination Record Cards . . .

        The Covid vaccine and the vaccination record cards that are the property in

  issue were not the property of the United States at the time that Dr. Moore acquired

  them; hence, these two counts cannot be sustained.

                                                 -24-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.786 Page 30 of 40




         The defendant does not dispute that at one point in time the vaccine and the

  record cards constituted “a thing of value of the United States . . .” However, that was

  not the case when Dr. Moore received them. He did not receive them from the United

  State government or the CDC.

         Pursuant to its own plan, the CDC had already distributed the items to the State

  of Utah (as it had to each of the 50 states). It was the State that then exercised

  possession, dominion, and control over them, and made the decisions as to when and

  to whom to distribute them. Dr. Moore dealt only with the State of Utah in obtaining

  the vaccine and record cards. Although he does not concede having committed a

  “theft” at all, as a matter of law the only possible “victim” of such an act would have

  been the Utah Department of Health & Human Services, not the CDC or the federal

  government itself.

         The very first element to be proven as per the Pattern Jury Charge is that the

  property “belonged to the United States government.” Inasmuch as the Government

  cannot prove something that is factually untrue, there is no basis to subject Dr. Moore

  to a trial on Counts Two and Three, which accordingly should be dismissed.

         Defendant anticipates that the Government will try to circumvent this issue by

  invoking the statutory language, “or any property made or being made under contract for the

  United States or any department or agency thereof . . .” But the clear meaning of that


                                             -25-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.787 Page 31 of 40




  statutory language is that it refers to property that ‘belongs’ to the United States, even

  though it may still be in the process of production, or in the hands of a manufacturer

  with whom it has contracted. See. e.g. United States v. Anderson, 45 F. Supp. 943 (D.

  Cal. 1942). See also Borman v. United States, 262 F. 26 (2d Cir. 1919) [holding that

  contractor violated predecessor statute to 18 USCS § 641 by converting materials

  furnished by the government to be made into a final product].

         While modern case law on point is sparse, United States v. Hartec Enterprises,

  Inc., 967 F.2d 130 (5th Cir. 1992) is instructive. Hartec manufactured wire mesh

  panels under a government contract. After it was discovered that Hartec sold some

  of the panels to third parties, it was convicted under 18 U.S.C. § 641 for this

  purported theft. The company maintained that the panels were “non-conforming

  goods” of which the government would not have taken possession, and hence were

  not government property. But the statutory language, “or any property made or being made

  under contract for the United States” was fatal to its defense at the trial level.

         The Fifth Circuit reversed, holding that the panels had not become the “property” of the

  United States, notwithstanding the fact that they were made with materials paid for by the

  government. It also rejected the argument that a contractual clause that gave the United

  States the right to retrieve the materials from third parties in possession of them did

  not render the panels the “property” of the government.


                                                   -26-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.788 Page 32 of 40




         The Fifth Circuit impliedly acknowledged that reasonable persons could differ

  as to whether or not the panels were “government property” under the specific facts

  of the case. It therefore applied a principal which is implicated in this case as well:

  the rule of lenity:

                This is also a paradigmatic case for application of the rule of lenity.
                The rule of lenity compels us to construe ambiguous criminal statutes
                in favor of lenity . . . . The rule promotes fair notice of prohibited
                conduct and reduces the likelihood that unintentionally criminal
                conduct will be penalized . . . .

                Although the rule does not require that we give the statute its
                narrowest construction . . . we find that under the facts now before us,
                the coupling of the title vesting provision with its inconsistent
                interpretations in the courts and § 641 did not provide [the defendant]
                with notice that he could be criminally liable for sale of the wire mesh
                panels.

  967 F.2d at 133. An application of that very same principal is appropriate here as well

  as to Dr. Moore.

         Although the CDC did not supply the materials used to manufacture the Covid

  vaccine, it is certainly true that it was manufactured for the CDC pursuant to a

  government contract. But the CDC then divested itself of the vaccine and the record

  cards by giving them to the states, which then determined when, where, how, and to

  whom to distribute them.

         At the very least, the situation creates an ambiguity as to the “ownership” of

  the vaccine and record cards, similar to the ambiguity that existed in Hartec. Dr.


                                                 -27-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.789 Page 33 of 40




  Moore believed that he was receiving products that belonged to the state of Utah, not

  the United States government. He still maintains that his belief was correct, but at

  worst the situation, as in Hartec, was so ambiguous that “§ 641 did not provide . . .

  notice that he could be criminally liable” for the use that he made of the vaccine and

  record cards. It is therefore appropriate to apply the rule of lenity, just as the Fifth

  Circuit did, and to dismiss Counts Two and Three.

        Interestingly, there is another parallel to Hartec. In that case, there was the

  contractual clause that allowed the government to retrieve the materials from third

  parties. Here, there is at least an argument that could be made on the CDC’s behalf

  that although the vaccine/cards were no longer its property, Dr. Moore’s use of them

  violated the provisions of the Vaccination Program Provider Agreement. This may

  arguably give the CDC standing to file a civil action for breach of contract

  against Dr. Moore, a point that he does not concede here but does not dispute

  either, as it is not relevant. But what the Government cannot do is convert that civil

  contract dispute into a criminal charge.

        A final case that illustrates the use of the “under contract for the United States”

  language is United States v. Robie, 166 F.3d 444 (2nd Cir. 1999). The defendant

  worked for a company that manufactured stamps for the federal government. During

  the process a number of “inverted” stamps were inadvertently printed. Rather than

                                             -28-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.790 Page 34 of 40




  destroying these misprints, Robie sold them to third parties for a substantial amount

  of money. In denying the defendant’s appeal, the court explained:

                The misprints fall squarely within the plain meaning of the statutory
                language. They were produced for the government solely and literally
                "under contract for" the Postal Service. Although as misprints they
                were useless to the Postal Service, it does not follow that they were
                not made under that agreement.

  Id. at 452.

          The Second Circuit determined that the misprints had been manufactured for

  the government and that they were the property of the government at the time that

  they were sold. That finding of fact was dispositive in Robie. But it is the paragraph

  following that one that is dispositive in this case as to Dr. Moore:

                That goods stolen were at one time made under government contract
                is not alone enough to establish the offense, however. Stamps lifted
                by a pickpocket on a city bus were once "made under contract for the
                Postal Service," but the theft is not a federal crime . . . .

  Ibid. The fact that the Covid vaccine was made under government contract is not

  alone enough to establish the offense charged here. Even if the CDC chooses to

  characterize Dr. Moore as “the pickpocket on the city bus,” it cannot convict him of

  a theft of CDC property that no longer belonged to the CDC.

          Based on all of the foregoing, the defendant respectfully submits that Counts

  Two and Three of the Indictment must be dismissed.




                                               -29-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.791 Page 35 of 40




                                            POINT IV

                 THE CDC’S COMPUTATION OF LOSS SHOULD BE
                 STRICKEN FROM THE INDICTMENT, AND THE
                 PROSECUTION SHOULD BE BARRED FROM
                 PRESENTING ANY ARGUMENT IN SUPPORT OF
                 IT AT OR AFTER TRIAL.

         Assuming arguendo that some or all of the counts in the Indictment survive

  this dismissal motion, the defendant submits that the Government’s calculation of loss

  in the Indictment should be stricken, and that it should be barred from arguing its

  theory either at trial or at any hypothetical sentencing.

         Count One of the Indictment presents a chart showing the value of the Covid

  vaccine obtained by Dr. Moore as $28,028.50. That valuation is based on the CDC’s

  actual cost, and for the limited purpose of this motion the defendant will not contest

  it. Count Three, however, contains a second chart that is absurd on its face.

         The Indictment claims that Dr. Moore obtained “approximately 1937 doses of

  COVID-19 vaccines and corresponding COVID-19 Vaccination Record Cards.” It

  goes on to value the record cards at $50 apiece, for a total of $96,850, for a total

  claimed loss of $123,878.50.9 The valuation of the record cards is outrageous at best,

  and blatant governmental abuse at worst.



         9
            Unlike its approach to the vaccine itself, the Indictment makes no mention whatsoever of
  its actual cost of obtaining the vaccine record cards.

                                                -30-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.792 Page 36 of 40




         As quoted above, the Tenth Circuit Pattern Criminal Jury Instruction for 18

  U.S.C. § 641 defines the term "value" as meaning the greatest of the following

  alternatives: face value, market value, or cost price (either wholesale or retail). It goes

  without saying that the pre-printed index card that constituted a vaccination record

  card did not have a cost price of $50 apiece. Nor did the card have such a “face

  value”; indeed, it had no face value, as it was never for sale to anyone, either doctor

  or patient. The only possible theory the government can therefore be advancing is that

  $50 represents the “market value” of the card.

         If one can ignore the bad faith inherent in the CDC’s position, it might be

  possible to at least give the government credit for creativity. Its theory, such as it is,

  consists of the following chain of “logic”:

         - In Paragraph 22(f), the Indictment alleges that “in exchange for direct cash

  payments or directed donations of $50 per person per occurrence,” Dr. Moore

  distributed vaccine cards to patients who were not vaccinated;

         - In Paragraph 23(e), the Indictment identifies a specific transaction in which

  an alleged co-conspirator of Dr. Moore instructed an undercover agent to make “a

  $50 donation,” and to provide proof of it by text;

         - By using $50 as the “value” of each card, the Government is apparently

  positing that amount, based on the cited evidence, as its “market value.”

                                             -31-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.793 Page 37 of 40




         There are a host of flaws in the Government’s theory, some factual and some

  legal, which collectively are fatal. The following are some of the factual issues:10

         (1) Factually, the defendants never received $50, or any other amount, from

  anyone; for the limited purpose of this motion, Dr. Moore will not contest that he or

  others requested that some, although not all, of the patients who received records

  cards were asked to make a donation to a registered charity that was against mandated

  Covid vaccines and that advocated against it;

         (2) The Government does not, and factually cannot, allege that Dr. Moore had

  any financial interest whatsoever in the charity, and never received even one dollar

  for “selling” vaccine cards; the Government maintains, and for the limited purpose

  of this motion Dr. Moore acknowledges, that he was motivated entirely by his

  medical beliefs about the vaccine and his obligation, as he saw it, to his patients;

         (3) Although contributions to the charity were requested, not all patients who

  got the cards made the donations. Aside from Dr. Moore’s philosophical alignment

  with the charity, the making of the contributions was more of a “verification” of the

  genuineness of the patient’s desire to avoid the vaccine than anything else.




         10
            As to the factual issues asserted here, Dr. Moore is prepared to participate in a hearing to
  establish the accuracy of the asserted facts, should the Court find one or more of the issues to be
  dispositive. Some of the asserted facts will most likely not even be disputed by the Government.

                                                  -32-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.794 Page 38 of 40




         The Government’s theory is also legally flawed. That theory, to reiterate, is that

  Dr. Moore was selling vaccine cards at $50 apiece, thereby establishing their market

  value. But there is not a single patient of Dr. Moore’s who would have ever paid

  one penny, much less $50, to purchase a vaccine card. Assuming, arguendo, that

  a patient was actually paying for something of value, what he was paying for was the

  not the receipt of a pre-printed vaccine record card. Even under the Government’s

  own theory, the patient would actually be paying $50 for the accommodation of

  Dr. Moore filling out the vaccine card with purported vaccination information;

  the patient was paying for a service, not a product.11

         The defendant acknowledges that the invalidity of the Government’s theory of

  valuation may be more significant at a hypothetical sentencing (where the value of

  property would affect the guidelines range) than at trial, as proof of value is not an

  essential element of the crime charged. But the defendant will still be prejudiced in

  the eyes of the jury by the accusation of such a large “theft” of property, and there is

  no reason to allow the Government to make a prejudicial argument that is incorrect

  as a matter of law.


         11
            It bears repeating yet again the Dr. Moore denies “selling” anything or “demanding”
  anything; he maintains that at most the evidence will support that the defendants sometimes
  requested that a patient make a charitable donation from which he received no personal benefit. The
  argument being made here simply assumes, for the very limited purpose of making his legal point,
  that the Government could establish that he was “selling” something.

                                                 -33-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.795 Page 39 of 40




                                     CONCLUSION

        The Covid vaccine, and the ways in which government has developed it,

  approved it, distributed it, and even mandated it, has caused cultural and political rifts

  that continue to be felt even after the end of the pandemic. This motion cannot heal

  those rifts or answer the political or ideological issues behind them. Instead, it

  presents conventional legal arguments, supported in some cases by the holdings of

  the United States Supreme Court itself.

        From the outset, the Government has been trying to fit a square peg into a

  round hole. It believes that Dr. Moore has done something wrong, but has been

  unable to charge a crime that fits the conduct. Had Dr. Moore committed the acts he

  is accused of for the sake of profit, this motion would most likely never have even

  been filed. But even the Government must reluctantly acknowledge that such is not

  the case. It knows full well that whatever Dr. Moore did, he did based on ideology

  and his sense of professional ethics. The Government need not agree with Dr.

  Moore’s ideology, but it cannot in good faith deny its role in this case.

        Based on all of the arguments made above, Dr. Moore urges the Court to find

  that the Government has failed in its attempts to fit a criminal charge to his conduct,

  and to dismiss the Indictment in its entirety.




                                            -34-
Case 2:23-cr-00010-HCN-JCB Document 166 Filed 07/11/24 PageID.796 Page 40 of 40




                                            Respectfully submitted,

                                            /s/ Jeffrey A. Bronster
                                            JEFFREY A. BRONSTER, ESQ.
                                            (JB/2620)
                                            17 Wendell Place
                                            Fairview, New Jersey 07022
                                            (201) 945-2566
                                            jbronster@bronsterlaw.com


                                            /s/ David O. Drake
                                            DAVID O. DRAKE, ESQ.
                                            (USB# 0911)
                                            6905 South 1300 East, #248
                                            Midvale, UT 84047
                                            (801) 601-9049
                                            sirdrake2033@gmail.com

                                            Attorneys for Defendant Michael
                                            Kirk Moore Jr.


  Dated: July 10, 2024




                                     -35-
